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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

 IN SUN KIL                                2:22−cv−01000−DSF−SK
               Plaintiff(s),
                                  Order re Prosecution of Certain
       v.                         Cases Under the Americans With
 RABADI SERVICE STATION, INC., et Disabilities Act
 al.
              Defendant(s).




       The Court has presided over hundreds, if not thousands, of cases under the
    Americans With Disabilities Act involving physical barriers in places of public
    accommodation. Most of these cases are brought by a small number of repeat
    plaintiffs and an even smaller number of law firms. With respect to these cases,
    the Court finds:
      1. The small number of repeat law firms in this area rarely prosecute their
         cases until the Court sends an order to show cause.
      2. Many of these cases result in defaults, which means that in many of these
         cases the Court is forced to send three orders to show cause re prosecution:
         one for failure to serve, one for failure to seek entry of default, and one for
         failure to move for default judgment.
      3. Given the enormous number of these cases, the need to track the lack of
         prosecution in these cases and send repeated orders to show cause has
         placed a significant burden on the limited resources of the Court.
          Therefore, the Court finds that there is good cause to institute a limited
      scheduling order concerning basic case prosecution for cases under the
      Americans With Disabilities Act involving physical barriers in places of public
      accommodation. In such cases:
      1. Proofs of Service: Proofs of service for all defendants must be filed within
         100 days of the filing of the case absent a previously approved extension




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           of time by the Court or a motion or responsive pleading by all defendants.
           (The Court expects that complaints will be served on all parites promptly
            after filing.)
      2.   Requests for Default: For any defendant who fails to respond to the
           complaint within the time provided by the Federal Rules of Civil Procedure
           and for whom no extension has been granted, a request for default must be
           filed no later than seven days after the time the response to the complaint
           would have been due.
      3.   Motions for Default Judgment: If only defaulted defendants remain in the
           case − i.e., no other defendants were named or the claims against all other
           defendants have been resolved either by dismissal, motion, or trial − a
           motion for default judgment must be filed within 30 days of the last entry
           of default. Note that the Court is not generally inclined to enter partial
           default judgments, and, therefore, a motion for default judgment should not
           be filed if some defendants have appeared and the case has not otherwise
           been completely resolved.
       The first failure to comply with this Order in a particular case will result in a
    sanction of $300, the second failure will result in a sanction of $450, and a third
    failure will result in a sanction of $750. The Court finds these sanctions sufficient
    and necessary to deter violations of the Order and to achieve timely prosecution of
    these cases without unnecessary intervention by the Court.



      IT IS SO ORDERED.




 Date: February 15, 2022
                                               Dale S. Fischer
                                               United States District Judge




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